                 Case No. 4:14-CV-8000-BP
          ______________________________________

          United States District Court
          Western District Of Missouri
          ______________________________________

                   RUSSELL BUCKLEW,

                          Plaintiff,

                              v.

                GEORGE LOMBARDI, et al.,

                       Defendants.
__________________________________________________________

 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
__________________________________________________________




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             UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF MISSOURI

RUSSELL BUCKLEW,                      )
                                      )
                   Plaintiff,         )
                                      )
            vs.                       )     Case No. 4:14-CV-8000-BP
                                      )
GEORGE A. LOMBARDI, et al.,           )
                                      )
                   Defendants.        )

        DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

                                Standard of Review

      Summary judgment is not a disfavored procedural shortcut, but “is an

integral part of the Federal Rules as a whole, which are designed to ‘secure the

just, speedy and inexpensive determination of every action.’” Torgeson v. City of

Rochester, 643 F.3d 1031, 1043 (8th Cir. 2011) (en banc), quoting Celotex Corp. v.

Catrett, 477 U.S. 317, 327 (1986). Summary judgment is proper if there is no

genuine issue of material fact and the movant is entitled to judgment as a

matter of law. Id. at 1042. The movant bears the burden of informing the district

court of the basis for its motion and must identify the portions of the record that

demonstrate the absence of a genuine issue of material fact. Id. The nonmovant

must respond by submitting evidentiary materials that set out specific facts

showing a genuine evidentiary issue for trial. Id.

      In order to prevail on an Eighth Amendment method of execution

challenge Bucklew must prove that the execution procedure is “sure or very



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likely to cause serious illness and needless suffering.” Zink v. Lombardi, 783

F.3d 1089, 1102 (8th Cir 2015) (en banc). And he must “prove that another

execution procedure exists that is feasible and readily implemented, and that

alternative method will significantly reduce a substantial risk of severe pain.”

Id. at 1103.

                 Summary of Bucklew’s Remaining Claim

      Here, Plaintiff Bucklew raises an as-applied Eighth Amendment challenge

to his execution by any means of lethal injection, by any personnel, because he

alleges that his cavernous hemangioma would necessarily make that cruel and

unusual punishment. Document 53, Fourth Amended Complaint, at 2, 10.

Bucklew alleges execution by gas will significantly reduce the risk of severe pain

during the execution. Id. at 2–3, 53. Bucklew alleges that his claim did not

accrue until May 2014 when Dr. Zivot examined Bucklew’s medical records and

examined Bucklew. Id. at 49–50.

      Bucklew alleges that any lethal chemical will fail to circulate properly in

his body because of the hemangioma’s, interference with the circulation of the

chemical, delaying the effect of the chemical and making the execution tortuous.

Id. at 4–5, 25, 27, 31, 53. Bucklew alleges that use of the dye may raise his blood

pressure causing a risk of choking and bleeding. Id. at 9, 40–41. But he alleges if

a dye is not used, it creates a risk that the execution team might not notice if

fluids are not properly flowing through the intravenous lines (I.V.). Id. at 25–26,


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42. Bucklew also alleges that risks to his airway are greater if he is lying flat on

a gurney. Id. at 35. But then he claims that no adjustment of the gurney will

likely fix this problem “as the stress of the execution may unavoidably cause Mr.

Bucklew’s hemangioma to rupture.” Id. at 44. Therefore, Bucklew concludes he

will suffer extreme, unnecessary, and tortuous pain during any execution by

lethal injection.

      But the record, including the testimony of Bucklew’s own expert, refutes

this claim. And it refutes the claim that execution by gas is a feasible and readily

implemented method of execution that would significantly reduce a severe risk of

unnecessary pain.

  The record refutes the first prong of an Eighth Amendment claim.

      After recent imaging was done of Bucklew’s hemangioma, the Defendants’

expert, Dr. Joseph Antognini, concluded that the hemangioma will not interfere

with the flow of pentobarbital, delaying unconsciousness. Bucklew’s expert, Dr.

Joel Zivot, also does not now find evidence to support a conclusion that the

hemangioma will interfere with circulation of the pentobarbital. Therefore, the

record refutes the allegation in the amended complaint that unconsciousness will

be delayed by the hemangioma diverting blood flow.

      Dr. Antognini opined, that assuming the I.V. is properly established and

used, Bucklew will achieve deep unconsciousness in which he cannot sense pain

in 20 to 30 seconds. Dr. Zivot did not give a firm opinion as to when Bucklew


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would be unable to sense pain, but opined that measurable brain activity would

cease in 52 to 240 seconds assuming a proper infusion of the lethal chemical.

Therefore, both experts place the occurrence of unconsciousness in a matter of

seconds, assuming proper infusion occurs.

      Neither expert finds it necessary for Bucklew to lay flat during an

execution, the position he alleges would most compromise the airway. And both

experts agree that Bucklew was able to tolerate lying flat for an hour during

imaging studies. Dr. Zivot opines that Bucklew was able to do this by consciously

adjusting his breathing patterns, but that he would not be able to do this once he

is no longer awake during an execution. But Dr. Zivot’s analysis places

Bucklew’s potential breathing difficulties after he is no longer awake.

      Both experts opined that Bucklew has challenging peripheral veins in his

hands and arms. But the execution protocol allows the primary or secondary I.V.

line to be placed in a peripheral or a central vein. Both experts agreed there is no

reason to believe that any of Bucklew’s central veins or any veins besides the

peripheral veins in his hands and arms have any defects. Therefore, any claim

that a problem with infusion is sure or very likely to cause serious illness or

unnecessary suffering is the type of speculation that the United States Court of

Appeals found in Zink does not state an Eighth Amendment claim. Further,

complaints about the veins in the hands and arms being poor were not pleaded,

and Defendants do not consent to such claims being adjudicated now.


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The record refutes the second prong of an Eighth Amendment Claim.

      Bucklew’s expert, Dr. Zivot, opined in published articles and in his

deposition, that there are insufficient studies to show the execution by gas,

specifically nitrogen hypoxia, would not be cruel and unusual punishment. Dr.

Antognini similarly found that execution by gas would not significantly reduce a

substantial risk of severe unnecessary pain. Matthew Briesacher, former

General Counsel of the Department of Corrections, testified at his deposition

that when he researched the possibility of execution by gas, he hit a wall, as

there is insufficient research and no experts to answer necessary questions to

establish that execution by gas is a feasible alternative method of execution. The

record refutes the claim that Bucklew meets the second prong of Zink analysis.

      Bucklew alleges that lethal gas is a feasible alternative method of

execution and is likely to “significantly reduce the risk of severe pain” because

its delivery into the lungs bypasses his circulatory system. Doc. 53 at 14. But

there is no support in the record for the assertion that any form of gas would

work faster than the pentobarbital would, and there is no support for the claim

that Bucklew would not, with gas, have whatever choking and bleeding he would

allegedly have with pentobarbital. In fact, in light of the testimony of Dr.

Antognini and Dr. Zivot that there is no reason to believe the hemangioma would

interfere with normal circulation of an execution chemical, and that if properly

infused the pentobarbital would cause unconsciousness in seconds, gas would


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likely significantly increase, rather than decrease, a risk of unnecessary

suffering. And there is no logical reason to believe, and certainly nothing in the

record, that supports inhalation of a lethal gas, or nitrogen hypoxia, would be

less irritating to Bucklew’s airway than an injection of fast-acting barbiturate

into his circulatory system through a vein.

      The record refutes the existence of Article III jurisdiction.

      Dr. Zivot has written in a published article and confirmed in his deposition

that if Bucklew is not executed, his untreatable hemangioma will cause him to

die by self-strangulation, but that if he is executed, he has a risk of choking.

Bucklew must establish an 1) injury in fact, 2) caused by the defendants, that 3)

this Court can redress, in order to establish Article III jurisdiction over the case.

See Spencer v. Kemna, 523 U.S. 1, 8 (1998) (at every stage of the litigation the

plaintiff must have suffered or be threatened with an actual injury, traceable to

the defendant, that is likely to be redressed by a favorable judicial decision).

Here, the record establishes that Bucklew will die of suffocation from his

hemangioma if he is not executed, but that, according to Plaintiff’s expert, he has

a risk of choking for a matter of seconds, probably after he is no longer awake, if

he is executed. Bucklew does not set out an injury in fact caused by Defendants

that this Court can remedy.




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 The record establishes the affirmative defenses of claim preclusion
                     and statute of limitations.

      Defendants assert affirmative defenses of claim preclusion and statute of

limitations. In June 2008, supported by an affidavit from another expert,

Bucklew asked the United States Court of Appeals for the Eighth Circuit to fund

clemency litigation based on a theory very similar to the one he currently raises–

that execution by lethal injection would cause an excruciatingly painful death

because his hemangioma would interfere with the circulation of execution

chemicals. Therefore, he was aware of his claim no later than June 2008. But he

was a plaintiff in the Zink litigation filed in 2012, in which he did not raise the

hemangioma in making an Eighth Amendment challenge to his execution by

lethal injection in Missouri. He did not file his as-applied challenge to lethal

injection based on his hemangioma until May 14 2014, shortly before his

scheduled May 21 execution, and shortly before the Zink litigation was

dismissed. There is no good reason Bucklew could not have brought his current

claim in the Zink litigation, and no good reason he could not have raised it

within the applicable five-year statute of limitations, which necessarily began to

run some time before June 2008 when he presented his pleading and expert

affidavit to the Court of Appeals.

                                  Conclusion

      This Court should grant Defendants’ motion for summary judgment.



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                                          Respectfully submitted,

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                       CERTIFICATE OF SERVICE

     I hereby certify that a true and correct copy of the foregoing was filed

electronically on this 10th day of April, 2017. This Court’s electronic filing

system should serve counsel for Mr. Bucklew.

/s/ Michael Spillane
Assistant Attorney General




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